Case
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               EXHIBIT 21
                          Case
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                               3:17-cv-00939-WHAErbium / Ytterbium 589-35
                                                   Document        Double
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   SPECIALTY FIBERS : ACTIVE FIBERS : ERBIUM / YTTERBIUM DOUBLE CLAD DOPED
   FIBERS

   For amplifier and fiber laser @ 1.5 μm

   Erbium Ytterbium doped fiber is a critical component ideal for high power laser. iXblue Photonics develops a full range of Erbium Ytterbium doped optical fibers dedicated
   to a wide range of fiber lasers.

   iXblue Photonics Erbium Ytterbium doped fiber products have been customized to address the specific requirements of high efficiency and low noise for high power fiber
   lasers




   Key Features

         High efficiency
         High pump and consistent absorption
         High brightness single mode core
         Low background losses
         Large mode area with low NA
         Multimode background (dB/km): <50
         Cladding NA: 0.46
         Cladding shape: octagonal (non PM) / round (PM)
         Birefringence: >2.10⁻⁴ / Panda type
         Power Conversion slope Efficiency (PCE): >40%
         Proof test level (kpsi): 100
         Core diameter: up to 30 μm




                                                                                APPLICATIONS

       1.5 µm High Power Lasers and Amplifiers
       1.5 µm CW and Pulsed Lasers
       CATV Amplifiers
       LIDAR
       Aucune application liée à ce produit




https://photonics.ixblue.com/products­list­detail/erbium­ytterbium­double­clad­doped­fibers                                                                                 1/2
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                                                                                                          RELATED PRODUCTS

        Erbium Doped Fibers (https://photonics.ixblue.com/products­list­detail/erbium­doped­fibers)
        Radiation Hardened Low Power Doped Fibers (https://photonics.ixblue.com/products­list­detail/radiation­hardened­low­power­doped­fibers)
        Radiation Hardened Medium Power Doped Fibers (https://photonics.ixblue.com/products­list­detail/radiation­hardened­medium­power­doped­fibers)




              Product Name                  Core diam.          Clad Abs. @ 915 nm               Clad Abs. @ 976 nm              Core Abs. @ 1536 nm               Core NA          Cladding Diameter Flat/Flat               Coating diam.
                                              (µm)                    (dB/m)                           (dB/m)                          (dB/m)                      (+/­ 0.02)                  (µm)                               (µm)

         IXF­2CF­EY­O­6­130                    6 +/­0.5                   > 0.6                             >2                               > 45                     0.19                       125 +/­3                        245 +/­15

       IXF­2CF­EY­O­6­130­LNF                  6 +/­0.5                   > 0.6                             >2                               > 25                     0.19                       125 +/­3                        245 +/­15

         IXF­2CF­EY­O­12­130                   12 +/­1                    > 2.5                            > 10                              > 40                     0.19                       125 +/­3                        245 +/­15

         IXF­2CF­EY­O­17­130                   17 +/­1                     >4                              > 16                              > 45                     0.19                       125 +/­3                        245 +/­15

         IXF­2CF­EY­O­30­300                   30 +/­2                     >3                              > 12                              > 75                     0.09                      300 +/­10                        470 +/­15

         IXF­2CF­EY­O­25­250                   25 +/­ 2                    >3                              > 12                              > 45                     0.09                      250 +/­ 5                        345 +/­ 15

      IXF­2CF­EY­PM­6­130­LNF                 6 +/­ 0.5                   > 0.6                             >2                               > 25                     0.19                      125 +/­ 3                        245 +/­ 15

        IXF­2CF­EY­PM­12­130                   12 +/­ 1                   > 2.5                            > 10                              > 40                     0.19                      125 +/­ 3                        245 +/­ 15

        IXF­2CF­EY­PM­15­160                   15 +/­ 1                    >2                               >8                             45 ­ 70                    0.19                      160 +/­ 3                        255 +/­ 15




                                                                Information request (https://photonics.ixblue.com/contact­us/informations­request)




                                                 Download Erbium / Ytterbium Double Clad Doped Fibers (/files/files/pdf/Fibers/Er_Yb_Double_Clad.pdf)




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        iXBlue Photonics offers the family of iXFiber specialty fibers : Er doped fibers , Er/Yb doped fibers, double clad fibers, Thulium doped fibers, polarization maintaining fibers, spun fibers, fiber Bragg gratings, FBG laser mirrors




https://photonics.ixblue.com/products­list­detail/erbium­ytterbium­double­clad­doped­fibers                                                                                                                                                      2/2
